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1
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     Los Angeles, California 90017
3    Tele: 213/688-0370 Fax: 213/627-9201
     Email: michaelartan@yahoo.com
4

5    Counsel for Defendant
     Artak Vardanyan
6

7
                          UNITED STATES DISTRICT COURT
8
                         EASTERN DISTRICT OF CALIFORNIA
9

10

11
     UNITED STATES OF AMERICA,                   Case No.: 1:19-cr-00178-DAD-BAM-2
12
                  Plaintiff,
13                                                      DEFENDANT ARTAK
           v.
14
                                                     VARDANYAN'S WAIVER OF
     ARTAK VARDANYAN,                               PERSONAL PRESENCE; ORDER
15

16                Defendant.
17   ____________________________/
18   TO THE CLERK OF COURT, PARTIES AND COUNSEL:
19
           Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, Defendant
20
     Artak Vardanyan, having been advised of his right to be present at all stages of the
21
     proceedings in this case, respectfully requests that this Court proceed in his
22
     absence on every occasion the Court may permit, pursuant to this waiver.
23
           Defendant agrees his interests shall be represented at all times by the
24
     presence of his counsel, Michael H. Artan, the same as if Defendant were
25
     personally present, and requests that the Court allow his counsel, Michael H.
26
     Artan, to represent his interests at all times. Defendant further agrees notice to his
27
     counsel, Michael H. Artan, that Defendant’s presence is required will be deemed
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     notice to the Defendant of the requirement of Defendant’s appearance at the time
2    and place as noticed.
3                                           Respectfully submitted,
4    Dated: October 28, 2019                /s/ Original Signature On File
5                                           ______________________________
                                            Artak Vardanyan
6
                                            Defendant
7

8
     Dated: October 28, 2019                /s/ Michael H. Artan
9                                           ______________________________
                                            Michael H. Artan
10
                                            Counsel for Defendant
11                                          Artak Vardanyan
12

13

14                                        ORDER
15            Good cause appearing, based on the Defendant’s waiver and request,
16            IT IS HEREBY ORDERED that Defendant Artak Vardanyan’s presence
17   may be waived at any and all non-substantive pretrial proceedings until further
18   order.
     IT IS SO ORDERED.
19

20      Dated:     October 30, 2019                    /s/ Barbara A. McAuliffe        _
21                                                 UNITED STATES MAGISTRATE JUDGE

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